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   6                         UNITED STATES DISTRICT COURT
   7                       CENTRAL DISTRICT OF CALIFORNIA
   8                                  WESTERN DIVISION
   9   CRYTEK GMBH,                   ) Case No.: CV 17-8937-DMG (FFMx)
                                      )
  10                      Plaintiff,  ) ORDER RE SURETY FUNDS [128]
                                      )
  11            v.                    )
                                      )
  12   CLOUD IMPERIUM GAMES CORP. )
       and ROBERTS SPACE INDUSTRIES )
  13   CORP.,                         )
                                      )
  14                      Defendants. )
                                      )
  15
  16        Having reviewed the Parties’ Stipulation concerning the funds posted in lieu of
  17 a surety bond by Plaintiff Crytek GmbH and for good cause shown, IT IS HEREBY
  18 ORDERED that the Five Hundred Thousand Dollars ($500,000.00) deposited by
  19 Plaintiff Crytek GmbH with the Clerk in lieu of a surety bond on August 19, 2019
  20 [Doc. # 85] shall be remitted and made payable to its counsel of record as follows:
                                         Erise IP, P.A.
  21
                                        Attn. Eric Buresh
  22                             7015 College Blvd., Suite 700
                                       Overland Park, KS 66211
  23
  24
  25 DATED: March 31, 2020                  _______________________________
                                            DOLLY M. GEE
  26
                                            UNITED STATES DISTRICT JUDGE
  27 cc: Fiscal Services
  28
